Case 5:20-cr-20479-JEL-KGA ECF No. 1 filed 09/23/20   PageID.1   Page 1 of 11




                                                  Case: 2:20−mj−30396
                                                  Assigned To : Unassigned
                                                  Assign. Date : 9/23/2020
                                                  CMP: USA v GLADSON, et al (MAW)
Case 5:20-cr-20479-JEL-KGA ECF No. 1 filed 09/23/20   PageID.2   Page 2 of 11
Case 5:20-cr-20479-JEL-KGA ECF No. 1 filed 09/23/20   PageID.3   Page 3 of 11
Case 5:20-cr-20479-JEL-KGA ECF No. 1 filed 09/23/20   PageID.4   Page 4 of 11
Case 5:20-cr-20479-JEL-KGA ECF No. 1 filed 09/23/20   PageID.5   Page 5 of 11
Case 5:20-cr-20479-JEL-KGA ECF No. 1 filed 09/23/20   PageID.6   Page 6 of 11
Case 5:20-cr-20479-JEL-KGA ECF No. 1 filed 09/23/20   PageID.7   Page 7 of 11
Case 5:20-cr-20479-JEL-KGA ECF No. 1 filed 09/23/20   PageID.8   Page 8 of 11
Case 5:20-cr-20479-JEL-KGA ECF No. 1 filed 09/23/20   PageID.9   Page 9 of 11
Case 5:20-cr-20479-JEL-KGA ECF No. 1 filed 09/23/20   PageID.10   Page 10 of 11
Case 5:20-cr-20479-JEL-KGA ECF No. 1 filed 09/23/20   PageID.11   Page 11 of 11
